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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  DISNEY ENTERPRISES, INC.,                         )
  TWENTIETH CENTURY FOX FILM                        )
  CORPORATION,                                      )
                                                    )    Case No. 11-cv-20427-AJ
  UNIVERSAL CITY STUDIOS                            )
  PRODUCTIONS LLLP,                                 )
  COLUMBIA PICTURES INDUSTRIES,                     )
  INC., and WARNER BROS.                            )    NOTICE OF FILING JOINT PROPOSED
  ENTERTAINMENT INC.,                               )    SCHEDULING ORDER
                                                    )
                  Plaintiffs,                       )
                                                    )
                                                    )
           vs.                                      )
                                                    )
  HOTFILE CORPORATION,                              )
  ANTON TITOV, and DOES 1-10.                       )
                                                    )
                                                    )
                  Defendants.                       )




       Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 16.1, the parties hereby give notice of filing

  their Joint Proposed Scheduling Order, a copy of which is attached hereto.


  Respectfully submitted,

  Dated: April 18, 2011                         By: s/ Karen L. Stetson
                                                    Karen L. Stetson

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